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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                Plaintiffs                      No. 1:21-cv-02130-CJN

      v.

HERRING NETWORKS, INC., et al.,                 Judge Carl J. Nichols

                Defendants


                                    EXHIBIT INDEX

A     Report of Review of Dominion Voting Systems Democracy Suite 5.5-A, Texas Secretary
      of State’s Office, January 24, 2020

B     Full briefing (without voluminous exhibits) on OAN defendants’ anti-SLAPP motion in
      the Coomer Action, Filing IDs A7DA5EF84102C, E9E5DD591D201, and
      6A78E5F1E0F74 (Note none of the information is confidential pursuant to a protective
      order anymore. See Coomer Action, Oct. 8, 2021 Order.)

C     Declaration of Eric Coomer, Coomer Action, Filing ID E9E5DD591D201, Exh. A to
      Plaintiff’s Omnibus Response to All Defendants’ Special Motions to Dismiss

D     Deposition of Joseph Oltmann, Coomer Action, Filing ID 6A78E5F1E0F74, Exh. G to
      OAN Defendants’ Reply in Support of Special Motion to Dismiss

E     Declaration of Tay Anderson, Coomer Action, Filing ID E9E5DD591D201, Exh. U to
      Plaintiff’s Omnibus Response to All Defendants’ Special Motions to Dismiss

F     Deposition of Eric Coomer, Coomer Action, Filing ID 6A78E5F1E0F74, Exh. A to OAN
      Defendants’ Reply in Support of Special Motion to Dismiss

G     Exhibit P23 to Deposition of Eric Coomer, Coomer Action, Filing ID 6A78E5F1EOF74,
      Exh. B to OAN Defendants’ Reply in Support of Special Motion to Dismiss

H     Denver Post editorial, Guest Commentary: I work for Dominion Voting Systems. I did not
      commit voter fraud. The attacks against me need to stop., December 8, 2020, Coomer
      Action, Filing ID 6A78E5F1E0F74, Exh. D to OAN Defendants’ Reply in Support of
      Special Motion to Dismiss, Exhibit P19 to Deposition of Eric Coomer

I     Ark Valley Voice article, On Edge: There’s a $1,000 Bounty on His Head and He Can’t go
      Home, December 22, 2020, Coomer Action, Filing ID 6A78E5F1E0F74, Exh. E to OAN
      Defendants’ Reply in Support of Special Motion to Dismiss


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J   Coomer Action First Amended Complaint, Filing ID 5D2B3A08F794E

K   Dr. Coomer’s Defamatory Statement Spreadsheet, Coomer Action, Filing ID
    E9E5DD591D201, Exh. A-1 to Plaintiff’s Omnibus Response to All Defendants’ Special
    Motions to Dismiss

L   OAN registration with California Secretary of State

M   FCC Public Notice granting approval for OAN’s Fixed Earth Station satellite broadcasting
    service, April 21, 2004

N   Declaration of Heidi Beedle, Coomer Action, Filing ID E9E5DD591D201, Exh. Q to
    Plaintiff’s Omnibus Response to All Defendants’ Special Motions to Dismiss

O   Declaration of Erik Maulbetsch, Coomer Action, Filing ID E9E5DD591D201, Exh. T to
    Plaintiff’s Omnibus Response to All Defendants’ Special Motions to Dismiss

P   Joseph Oltmann’s antifa call notes, Coomer Action, Filing ID E9E5DD591D201, Exh. F-
    2 to Plaintiff’s Omnibus Response to All Defendants’ Special Motions to Dismiss

Q   Judicial Caseload Profiles for the U.S. District Court for the District of Columbia and the
    U.S. District Court for the District of Colorado




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